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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 8:14CR54
                                              )
       vs.                                    )                  ORDER
                                              )
JOSHUA M. WILDENRADT,                         )
                                              )
                     Defendant.               )

       This matter is before the court on the motion of defendant Joshua M. Wildenradt
(Wildenradt) to amend the conditions of his release (Filing No. 50). After consulting with
Pretrial Services, the motion is granted.


       IT IS SO ORDERED.


       DATED this 1st day of May, 2014.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
